          Case
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AO 470 (01/09) Order Scheduling a Detention Hearing


                                   UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION

United States of America
                                                                     Case Number: AU:24-M -00885(1)
v.

(1) Philip Taylor Sobash
  Defendant




                        ORDER SCHEDULING A DETENTION HEARING

         A X detention hearing and an                   identity hearing in this case is/are scheduled as follows:


Place:                      501 West 5th Street, Austin, Texas, 78701          Courtroom No.: 3, 4th Floor
Presiding Judge:            Magistrate Judge Dustin Howell                     Date and Time: December 18,
                                                                               2024, at 10:00 AM


      IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the
United States Marshal or any other authorized officer. The custodian must bring the defendant to the
hearing at the time, date, and place set forth above.

      If defendant chooses to waive hearing, a written waiver (see attached) must be signed by
defendant and his/her counsel and filed by 4:00 p.m. the day before scheduled hearing.




                    December 13, 2024                          ______________________________
                               Date                            DUSTIN M. HOWELL
                                                               UNITED STATES MAGISTRATE JUDGE




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